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VIA ECF

February 28, 2025



Hon. Gabriel W. Gorenstein
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007


Re: Golland et al. v. Major League Baseball Advanced Media, L.P., No. 1:24-cv-06270-GHW-
GWG

Dear Judge Gorenstein:

       Pursuant to the Court’s Individual Practices, I write on behalf of Defendant MLB
Advanced Media, L.P. (“MLBAM”) to advise the Court that MLBAM’s Motion to Strike and
Dismiss Plaintiffs’ Complaint Pursuant to Federal Rules of Civil Procedure 12(f), 12(b)(6), and
12(b)(1) has now been fully briefed. (ECF Nos. 35, 36, 38, and 39.)


                              Sincerely,




                                Andrew Rima

Cc: Counsel of Record (via ECF)




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